                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION



ELOISE PIERRE-GILLES, an individual,            CIVIL ACTION

                    Plaintiff,
                                                Case No. 2:21-cv-932
v.
                                                Judge: Sheri Polster Chappell
BEST CARE COMMUNITY AND
FAMILY HEALTH CENTER, INC., a                   Mag. Judge: Nicholas P. Mizell
Florida corporation,

                    Defendant.


               COMPLAINT AND DEMAND FOR JURY TRIAL

      NOW COMES the Plaintiff, ELOISE PIERRE-GILLES (“PIERRE-GILLES”

or Plaintiff), by and through undersigned counsel, and states the following for her

Complaint:

                                 CAUSES OF ACTION

      1.     This is an action brought under the Pregnancy Discrimination Act

(PDA) and Florida Civil Rights Act (FCRA) for (1) pregnancy discrimination in

violation of the PDA, and (2) pregnancy discrimination in violation of the FCRA.




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                                    PARTIES

      2.    The Plaintiff, ELOISE PIERRE-GILLES (“PIERRE-GILLES ”) is an

individual and a resident of Florida who at all material times was employed by

the Defendant in Lee County, Florida.

      3.    Defendant, BEST CARE COMMUNITY AND FAMILY HEALTH

CENTER, INC. (“Defendant”) is a Florida corporation, and has a principal place

of business in Lee County, Florida. The Defendant employed PIERRE-GILLES .

      4.    The Defendant employs in excess of 15 employees and is an employer

under the PDA and FCRA.

                         JURISDICTION AND VENUE

      5.    This Court has jurisdiction of this matter under 28 U.S.C. §1331.

      6.    This Court has supplemental jurisdiction over PIERRE-GILLES ’s

state law claims pursuant to 28 U.S.C. §1367.

      7.    Venue is proper in the United States District Court for the Middle

District of Florida because the Plaintiff was employed in Lee County, and the

Defendant conducts business in, and some or all of the events giving rise to

Plaintiff’s claims occurred in Lee County, Florida, which is within the Middle

District of Florida. Venue is proper in the Fort Myers Division under Local Rule

1.04(a) since Lee County is within the Fort Myers Division.




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      8.     PIERRE-GILLES timely filed a Charge of Discrimination with the

U.S. Equal Employment Opportunity Commission (EEOC) and received her

Notice of Right to Sue on October 8, 2021. (See Doc. 1-2).

                           GENERAL ALLEGATIONS

      9.     PIERRE-GILLES began her employment with the Defendant on

August 24, 2020 and was employed as a personal lines representative.

      10.    PIERRE-GILLES always performed her assigned duties in a

professional manner and was very well qualified for her position despite her

pregnancy.

      11.    PIERRE-GILLES       received    great   performance   reviews   from

Defendant’s managers- that is until she disclosed her pregnancy in or about

October 2020.

      12.    Within a matter of only a few days, the Defendant reduced PIERRE-

GILLES’ hours.

      13.    On or about December 11, 2020, PIERRE-GILLES arrived at work

after the start of the workday following a pre-approved appointment at Women,

Infants, and Children (WIC). In the middle of the workday, her manager took

PIERRE-GILLES aside and sent her home because PIERRE-GILLES had missed

a portion of the work-day due to a required prenatal appointment.




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      14.    About one week later, the Defendant’s owner communicated to

PIERRE-GILLES that he felt she was unable to work there anymore due to her

pregnancy.

      15.    Thereafter, the Defendant again cut her hours and on January 8, 2021,

the Defendant informed PIERRE-GILLES that it no longer needed her services,

and thus she was terminated.

      16.    The Defendant then targeted PIERRE-GILLES for termination and

sought to (and upon information and belief, did) replace her with a non-pregnant

employee.

      17.    The Defendant terminated PIERRE-GILLES as a result of pregnancy.

      18.    The Defendant's tangible, adverse employment actions were causally

connected to PIERRE-GILLES 's pregnancy.

      19.    The Defendant intentionally and systematically discriminated against

PIERRE-GILLES by using her pregnancy as the substantial or motivating factor

in the Defendant’s decision not to continue PIERRE-GILLES's employment and

terminating her.

      20.    The   Defendant’s    decision   to   terminate    PIERRE-GILLES’s

employment violated PIERRE-GILLES’s rights under the PDA and FCRA.

 COUNT I – VIOLATION OF THE PREGNANCY DISCRIMINATION ACT
                            (PDA)




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        21.      Plaintiff incorporates by reference Paragraphs 1-20 of this Complaint

as though fully set forth below.

        22.      At all material times, PIERRE-GILLES was an employee and the

Defendant was her employer covered by and within the meaning of the PDA.

        23.      The Defendant intentionally discriminated against PIERRE-GILLES

because she was pregnant with regard to the terms and conditions of her

employment, whereas other similarly situated non-pregnant employees were

given unrestricted brief leave to accommodate their physical incapacity or for no

reason at all.

        24.      The Defendant’s employment and disciplinary policies were applied

differently to PIERRE-GILLES because of her pregnancy.

        25.      The Defendant intentionally discriminated against PIERRE-GILLES

by discharging her because she became pregnant.

        26.      The Defendant acted with malice or reckless indifference to the civil

rights of PIERRE-GILLES.

        27.      PIERRE-GILLES has exhausted her administrative remedies and this

Count is timely brought.

   WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of right,

and:

   i.         Injunctive relief directing Defendant to cease and desist from all

              pregnancy discrimination of all employees;

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   ii.          Back pay and all other benefits, perquisites and other compensation for

                employment which plaintiff would have received had she maintained

                her position with Defendant, plus interest, including but not limited to

                lost salary and bonuses;

   iii.         Front pay, including benefits, insurance costs, benefits costs, and

                retirement benefits;

   iv.          Reimbursement of all expenses and financial losses Plaintiff has incurred

                as a result of Defendant’s actions;

   v.           Declaratory relief declaring the acts and practices of Defendant to be in

                violation of the statute cited above;

   vi.          Reasonable attorney's fees plus costs;

   vii.         Punitive damages,

   viii.        Compensatory damages, and;

   ix.          Such other relief as this Court shall deem appropriate.

                 COUNT II – VIOLATION OF THE FCRA- PREGNANCY

          28.      Plaintiff incorporates by reference Paragraphs 1-20 of this Complaint

as though fully set forth below.

          29.      At all material times, PIERRE-GILLES was an employee and the

Defendant was her employer covered by and within the meaning of the FCRA.

          30.      The Defendant intentionally discriminated against PIERRE-GILLES

because she was pregnant with regard to the terms and conditions of her

                                                6
employment, whereas other similarly situated non-pregnant employees were

given unrestricted brief leave to accommodate their physical incapacity or for no

reason at all.

          31.      The Defendant’s employment and disciplinary policies were applied

differently to PIERRE-GILLES because of her pregnancy.

          32.      The Defendant intentionally discriminated against PIERRE-GILLES

by discharging her because she became pregnant.

          33.      The Defendant acted with malice or reckless indifference to the civil

rights of PIERRE-GILLES.

          34.      PIERRE-GILLES has exhausted her administrative remedies and this

Count is timely brought.

   WHEREFORE, Plaintiff requests trial by jury of all issues so triable as of right,

and:

   i.           Injunctive relief directing Defendant to cease and desist from all

                pregnancy discrimination of all employees;

   ii.          Back pay and all other benefits, perquisites and other compensation for

                employment which plaintiff would have received had she maintained

                her position with Defendant, plus interest, including but not limited to

                lost salary and bonuses;

   iii.         Front pay, including benefits, insurance costs, benefits costs, and

                retirement benefits;

                                              7
   iv.     Reimbursement of all expenses and financial losses Plaintiff has incurred

           as a result of Defendant’s actions;

   v.      Declaratory relief declaring the acts and practices of Defendant to be in

           violation of the statute cited above;

   vi.     Reasonable attorney's fees plus costs;

   vii.    Punitive damages,

   viii.   Compensatory damages, and;

   ix.     Such other relief as this Court shall deem appropriate.

                           DEMAND FOR JURY TRIAL

     NOW COMES the Plaintiff, ELOISE PIERRE-GILLES , by and through her

undersigned attorney, and demands a jury trial under Federal Rule of Civil

Procedure 38 on all issues triable of right by a jury in this action.

                                  Respectfully submitted,

Dated: December 20, 2021          /s/ Benjamin H. Yormak
                                  Benjamin H. Yormak
                                  Florida Bar Number 71272
                                  Lead Counsel for Plaintiff
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                          CERTIFICATE OF SERVICE

       I hereby certify that on December 20, 2021, I electronically filed the
foregoing with the Clerk of Court by using the CM/ECF system. I further certify
that I mailed the foregoing document and the notice of electronic filing by first-
class mail to the following non-CM/ECF participants: None.

                               s/ Benjamin H. Yormak
                               Benjamin H. Yormak




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